     Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 1 of 11




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION


JANELLE QUINN, individually           )
and on behalf of her minor child      )
D.J.Q. Jr.                            )
                                      )
                                      )
                                      )
Plaintiffs,                           )
                                      )
v.                                    )Civil Action No. 1:22-cv-00051-JRH-BKE
                                      )
COLUMBIA COUNTY                       )
SCHOOL DISTRICT                       )
                                      )
                                      )      JURY TRIAL DEMANDED
                                      )
                                      )
Defendant.                            )


      PLAINTIFF’S RESPONSE TO DEFENDANT’S STATEMENT OF
                       MATERIAL FACTS


Pursuant to LR 56.1(B)(2), Plaintiffs respond to Defendant’s Statement of Material
Facts.
                                         1.
Plaintiff admits the allegations contained in Paragraph 1 of Defendant’s Statement
of Material Facts.
                                         2.
Plaintiff admits the allegations contained in Paragraph 2 of Defendant’s Statement
of Material Facts.


                                    Page 1 of 11
    Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 2 of 11




                                          3.
Plaintiff admits the allegations contained in Paragraph 3 of Defendant’s Statement
of Material Facts.
                                          4.
Plaintiff admits the allegations contained in Paragraph 4 of Defendant’s Statement
of Material Facts.
                                          5.
Plaintiff admits the allegations contained in Paragraph 5 of Defendant’s Statement
of Material Facts.
                                          6.
Plaintiff admits the allegations contained in Paragraph 6 of Defendant’s Statement
of Material Facts.
                                          7.
Plaintiff admits the allegations contained in Paragraph 7 of Defendant’s Statement
of Material Facts.
                                          8.
Plaintiff admits the allegations contained in Paragraph 8 of Defendant's Statement
of Material Facts.
                                          9.
Plaintiff denies the allegations contained in Paragraph 9 of Defendant’s Statement
of Material Facts. Ms. Quinn and Jr.’s father met with Dr. Doolittle and Ms.
Owens. Then, Jr. was called into the meeting after the four adults initially spoke.
Janelle Quinn Affidavit, P. 17
                                          10.
Plaintiff is unable to confirm or deny whether Dr. Doolittle reported the incident to
his supervisor, Dr. Williams but admits that Dr. Doolittle testified to the same.



                                     Page 2 of 11
    Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 3 of 11




                                           11.
Plaintiff admits the allegations contained in Paragraph 11 of Defendant’s
Statement of Material Facts.
                                           12.
Plaintiff denies the allegations contained in Paragraph 12 of Defendant's Statement
of Material Facts. Doc. 30-4, Deposition Transcript of Janelle Quinn, pg. 10, lines
1-6
                                           13.
Plaintiff admits the allegations contained in Paragraph 13 of Defendant’s
Statement of Material Facts.
                                           14.
Plaintiff admits the allegations contained in Paragraph 14 of Defendant’s
Statement of Material Facts.
                                            15.
Plaintiff admits that she reported the incident to the Professional Standards of
Commission, Columbia County Sheriff’s Office, and the U.S. Department of
Justice. Plaintiff denies filing a report with the U.S. Office of Civil Rights.
Deposition Transcript of Janelle Quinn, pg. 43, lines 22-25; pg. 44, lines 1-4
                                           16.
Plaintiff admits the allegations contained in Paragraph 16 of Defendant’s
Statement of Material Facts.
                                           17.
Plaintiff admits the allegations contained in Paragraph 17 of Defendant’s
Statement of Material Facts.
                                           18.
Plaintiff admits the allegations contained in Paragraph 18 of Defendant’s
Statement of Material Facts.




                                      Page 3 of 11
    Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 4 of 11




                                         19.
Plaintiff denies the allegations contained in Paragraph 19 of Defendant’s Statement
of Material Facts. Doc. 30-4, pg. 82, lines 2-8.
                                         20.
Plaintiff admits the allegations contained in Paragraph 20 of Defendant’s
Statement of Material Facts.
                                         21.
Plaintiff admits the allegations contained in Paragraph 21 of Defendant’s
Statement of Material Facts.
                                         22.
Plaintiff admits the allegations contained in Paragraph 22 of Defendant’s
Statement of Material Facts.
                                         23.
Plaintiff admits the allegations contained in Paragraph 23 of Defendant’s
Statement of Material Facts.
                                          24.
Plaintiff admits the allegations contained in Paragraph 24 of Defendant’s
Statement of Material Facts.
                                          25.
Plaintiff denies the allegations contained in Paragraph 25 of Defendant’s Statement
of Material Facts. Ms. Quinn admits that she wanted Ms. Quinn to be terminated,
but she also requested interventions to eliminate contact with Jr. and less drastic
measures like transferring Ms. Owens and DEI Training. Doc. 30-4, Deposition
Transcript of Janelle Quinn, pg. 10, lines 1-6. Janelle Quinn Affidavit, P. 6, 7, 8
                                          26.
Plaintiff admits the allegations contained in Paragraph 26 of Defendant’s
Statement of Material Facts.




                                    Page 4 of 11
    Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 5 of 11




                                          27.
Plaintiff denies the allegations contained in Paragraph 27 of Defendant’s Statement
of Material Facts. Doc. 30-5, pg. 27, lines 10-15. Doc. 30-6, pg. 19, lines 21-25;
pg. 20, lines 1-6.
                                          28.
Plaintiff denies the allegations contained in Paragraph 28 of Defendant’s Statement
of Material Facts. Doc. 30-5, pg. 27, lines 10-15. Doc. 30-6, pg. 19, lines 21-25;
pg. 20, lines 1-6.
                                          29.
Plaintiff denies the allegations contained in Paragraph 29 of Defendant’s Statement
of Material Facts. Doc. 30-5, pg. 26, lines 10-25.
                                          30.
Plaintiff admits the allegations contained in Paragraph 30 of Defendant’s
Statement of Material Facts.
                                          31.
Plaintiff admits the allegations contained in Paragraph 31 of Defendant’s
Statement of Material Facts.
                                          32.
Plaintiff denies the allegations contained in Paragraph 32 of Defendant’s Statement
of Material Facts. On or about April 1, 2021, Plaintiff called Ms. Sherman and
requested that Ms. Owens not have any further conversations with Jr. Ms. Sherman
agreed to relay Plaintiff’s request to Dr. Doolittle. Complaint, P. 32. Janelle Quinn
Affidavit, P. 16
                                          33.
Plaintiff is unable to confirm or deny whether Ms. Sherman spoke with Ms. Welch
to describe the events and to ask how to calm the situation at the school but admits
that Ms. Sherman testified to the same.
                                          34.
Plaintiff denies the allegations contained in Paragraph 34 of Defendant’s Statement
of Material Facts. Exhibit 10 Email from Ms. Sherman to Ms. Welch, Magellan

                                     Page 5 of 11
    Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 6 of 11




                                           35.
Plaintiff admits the allegations contained in Paragraph 35 of Defendant’s
Statement of Material Facts.
                                           36.
Plaintiff admits that Ms. Welch testified in her deposition that MFLC Counselors
are not allowed to be assigned to the same school their children attends. Plaintiff
denies that she received notice of such a rule until after she reported racial
discrimination to the Columbia County School District. Doc. 30-4, pg. 21-22, lines
1-25; 1-17.
                                           37.
Plaintiff admits that Ms. Welch testified in her deposition that a conflict can exist
where a counselor’s objectivity could be perceived as compromised. Plaintiff
denies that her objectivity was compromised when she advocated against racial
discrimination for her minor son, Jr. Plaintiff denies that her objectivity was
compromised due to working in the same school Jr. attended. Doc. 30-4, pg. 103,
lines 1-8.
                                           38.
Plaintiff admits the allegations contained in Paragraph 38 of Defendant’s
Statement of Material Facts.
                                           39.
Plaintiff admits the allegations contained in Paragraph 39 of Defendant’s
Statement of Material Facts.
                                           40.
Plaintiff admits the allegations contained in Paragraph 40 of Defendant’s
Statement of Material Facts.
                                           41.
Plaintiff denies the allegations contained in Paragraph 41 of Defendant’s Statement
of Material Facts. Doc. 30-4, pg. 95, lines 4-15. Janelle Quinn Affidavit, P. 14, 15
                                           42.
Plaintiff denies the allegations contained in Paragraph 42 of Defendant’s Statement
of Material Facts. Doc. 30-4, pg. 95, lines 4-15.
                                      Page 6 of 11
    Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 7 of 11




                                          43.
Plaintiff denies the allegations contained in Paragraph 43 of Defendant’s Statement
of Material Facts. Doc. 30-4, pg. 111, lines 18-23; Doc. 30-7 pg. 13, lines 19-22.
                                          44.
Plaintiff admits the allegations contained in Paragraph 44 of Defendant’s
Statement of Material Facts.
                                          45.
Plaintiff is unable to confirm or deny whether Magellan had no indication the
Defendant was trying to retaliate against or harm Plaintiff but admits that Ms.
Welch testified to the same. Plaintiff denies that there was nothing improper in the
way the matter was reported to Magellan. Exhibit 10 Email from Ms. Sherman to
Ms. Welch, Magellan. Janelle Quinn Affidavit, P. 14
                                          46.
Plaintiff admits the allegations contained in Paragraph 46 of Defendant’s
Statement of Material Facts.
                                          47.
Plaintiff admits the allegations contained in Paragraph 47 of Defendant’s
Statement of Material Facts.
                                           48.
Plaintiff admits the allegations contained in Paragraph 48 of Defendant’s
Statement of Material Facts.
                                           49.
Plaintiff admits the allegations contained in Paragraph 49 of Defendant’s
Statement of Material Facts.
                                           50.
Plaintiff denies the allegations contained in Paragraph 50 of Defendant’s Statement
of Material Facts. Doc 30-5, pg. 23, lines 21-25; pg. 24, lines 1-4
                                           51.
Plaintiff admits the allegations contained in Paragraph 51 of Defendant’s
Statement of Material Facts.
                                     Page 7 of 11
    Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 8 of 11




                                         52.
Plaintiff admits the allegations contained in Paragraph 52 of Defendant’s
Statement of Material Facts.
                                         53.
Plaintiff denies the allegations contained in Paragraph 53 of Defendant’s Statement
of Material Facts. Doc. 30-7, pg. 15, lines 1-9; pg. 18, lines 8-23.
                                         54.
Plaintiff admits the allegations contained in Paragraph 54 of Defendant’s
Statement of Material Facts.
                                         55.
Plaintiff denies the allegations contained in Paragraph 55 of Defendant’s Statement
of Material Facts. Doc. 30-7, pg. 14, lines 20-22.
                                         56.
Plaintiff denies the allegations contained in Paragraph 56 of Defendant’s Statement
of Material Facts. Doc. 30-7, pg. 14, lines 20-22.
                                         57.
Plaintiff denies the allegations contained in Paragraph 57 of Defendant’s Statement
of Material Facts. Doc. 30-7, pg. 14, lines 20-22.
                                         58.
Plaintiff denies the allegations contained in Paragraph 58 of Defendant’s Statement
of Material Facts. Doc. 30-7, pg. 17, lines 13-17.
                                         59.
Plaintiff denies the allegations contained in Paragraph 59 of Defendant’s Statement
of Material Facts. Doc. 30-7, pg. 14, lines 20-22.
                                          60.
Plaintiff denies the allegations contained in Paragraph 60 of Defendant’s Statement
of Material Facts. Doc. 30-4, pg. 21, lines 1-25; pg. 22, lines 1-17.




                                    Page 8 of 11
    Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 9 of 11




                                         61.
Plaintiff denies the allegations contained in Paragraph 61 of Defendant’s Statement
of Material Facts. Janelle Quinn Affidavit, P. 11, 14.


This 22nd day of May 2023.




                                                           /s/ Angelik Edmonds
                                                               Angelik Edmonds
                                                           Attorney for Plaintiff
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                                        Edmonds Law Office of Civil Rights LLC
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                                    Page 9 of 11
     Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 10 of 11




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION


JANELLE QUINN, individually             )
and on behalf of her minor child        )
D.J.Q. Jr.                              )
                                        )
                                        )
                                        )
Plaintiffs,                             )
                                        )
v.                                      )Civil Action No. 1:22-cv-00051-JRH-BKE
                                        )
COLUMBIA COUNTY                         )
SCHOOL DISTRICT                         )
                                        )
                                        )      JURY TRIAL DEMANDED
                                        )
                                        )
Defendant.                              )


                          CERTIFICATE OF SERVICE


This is to certify that I electronically served Plaintiffs’ Opposition to Defendant’s

Motion for Summary Judgment to the attorneys of record, William L. Fletcher, Jr.

at willfletcher@fhflaw.com and Troy A. Lanier at tlanier@tlanierlaw.com.


DATE: This 22nd day of May, 2023



                    [SIGNATURE ON FOLLOWING PAGE]
                                      Page 10 of 11
Case 1:22-cv-00051-JRH-BKE Document 33-1 Filed 05/22/23 Page 11 of 11




                                                   Respectfully submitted,

                                                     /s/Angelik Edmonds
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                             Page 11 of 11
